                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                  AT GREENEVILLE

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )   No. 2:02-CR-32
                                                 )     (2:12-cv-345)
WILLIAM WRIGHT                                   )


                                      JUDGMENT ORDER


       In accordance with the accompanying Memorandum Opinion, petitioner’s motion to

vacate, set aside, or correct sentence pursuant to 28 U.S.C. § 2255 [doc. 505] is DENIED IN

PART and GRANTED IN PART. Petitioner’s motion to vacate, set aside or correct sentence

pursuant to 28 U.S.C. § 2255 as it relates to his term of imprisonment is DENIED AS MOOT.

Petitioner’s motion to vacate, set aside or correct sentence pursuant to 28 U.S.C. § 2255 as it

relates to his term of supervised release is GRANTED. The defendant’s term of supervised

release is reduced to five years. Except as provided above, all provisions of the judgment

entered April 7, 2004, shall remain in effect.

       The Clerk is DIRECTED to close the civil file.

               IT IS SO ORDERED.

                                                           ENTER:



                                                                  s/ Leon Jordan
                                                            United States District Judge

ENTERED AS A JUDGMENT

      s/ Debra C. Poplin
     CLERK OF COURT



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